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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

In re.'

Applicaz‘ion ofthe Reporters Commz`tteefor
Freea’om of the Pressfor an Order Authorz`zing
the Release of Grand Jury Materz`al Cited,
Quotea’, or Referenced In the Report ofSpecial
Counsel Robert S. Mueller III,

1156 15th Street NW, Suite 1020
Washington, D.C. 2()()()5

 

 

Miscellaneous Action No.

Oral Argument Requested

APPLICATION OF THE REPORTERS COMMITTEE FOR FREEDOM OF THE PRESS
FOR AN ORDER AUTHORIZING THE RELEASE OF GRAND JURY MATERIAL
CITED, QUOTED, OR REFERENCED
IN THE REPORT OF SPECIAL COUNSEL ROBERT S. MUELLER III

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The Reporters Committee for Freedom of the Press (the “Reporters Committee”) is an
unincorporated nonprofit association founded by leading journalists and lawyers in 1970 when the
nation’s news media faced an unprecedented wave of government subpoenas forcing reporters to
name confidential sources. Today, its attorneys provide pro bono legal representation, amicus
curiae support, and other legal resources to protect First Amendment freedoms and the
newsgathering rights of journalists. The Reporters Committee has a longstanding interest,
demonstrated throughout its fifty-year existence, in advocating for transparency in-government,
including for the rights of the press and the public to access government records.

Pursuant to Local Rule 57.6, the Reporters Committee hereby petitions this Court for an
order authorizing the release of grand jury material cited, quoted, or referenced in the Report of
Special Counsel Robert S. Mueller III (the “Special Counsel’s Report”) to the public. To the extent
necessary to facilitate this Court’s ruling on its Application, the Reporters Committee further
requests that the Court issue an order directing the Attorney General to lodge a copy of the Special
Counsel’s Report with the Court for in camera review.

PRELIMINARY STATEMENT AND INTEREST OF THE APPLICANT

l. The recently concluded investigation of Special Counsel Robert S. Mueller III
inquired into fundamental questions about the strength and vitality of our democracy and electoral
process. The Special Counsel’s two-year probe examined whether Russia interfered in the 2016
U.S. presidential election, whether the winner of that election, the current President of the United
States, and/or members of his presidential campaign conspired with Russia to interfere in our
nation’s elections, and whether the President obstructed justice. This was no ordinary secret grand
jury investigation but rather one that was in many respects public and that has affected the entire

country and all branches of the federal government

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2. Upon conclusion of the investigation, the Special Counsel delivered to the Attorney
General a nearly 400-page report. Letter from Attorney Gen. William P. Barr to Sen. Lindsey
Graham and Rep. Jerrold Nadler 2 (Mar. 29, 2019), available at https://wapo.st/2CL4B3k (“Mar.
29 Letter”). On March 24, 2019, the Attorney General delivered a letter to Congress that briefly
summarized the report’s “principal conclusions” in only four pages. According to the Attorney
General, Special Counsel Mueller “outlines the Russian effort to influence the election and
documents crimes committed by persons associated with the Russian government in connection
with those efforts.” Letter from Attorney Gen. Williarn P. Barr to Sen. Lindsey Graham, Rep.
Jerrold Nadler, Sen. Dianne Feinstein, and Rep. Doug Collins l (Mar. 24, 20195, available at
https://wapo.st/2V7mi4i (“Mar. 24 Letter”). Mr. Barr further, quoting a sentence fragment from
the report, states that the Special Counsel also concluded that the President and his campaign had
not “conspired or coordinated” with the Russian government “in its election interference
activities.” Ia’. The Attorney General also stated that the Special Counsel made no conclusions as
to whether the President had committed the crime of obstruction of justice, though the Special
Counsel had not “exonerated” the President either. Ia’. at 3. The Attorney General then announced
that he had made his own determination that “the evidence” was “not sufficient to establish that
the President committed an obstruction-of-justice offense.” Ia’. In subsequent days, the Attorney
General stated that he would provide the Special Counsel’s Report to Congress with certain
information redacted, including unspecified grand jury material cited, quoted, or referenced in the
report. See Fed. R. Crim. P. 6(e); Mar. 29 Letter at l.

3. On March 27, 2019, three days after the Attorney General issued his four-page
summary of the Special Counsel’s Report, the Reporters Committee submitted a request under the

Freedom of lnformation Act (“FOIA”), 5 U.S.C. § 552, to the Attorney General, requesting access

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to and a copy of the Special Counsel’s Report in its entirety. See EX. l.l The Reporters Committee
has a longstanding and demonstrated interest in supporting the newsgathering efforts of j ournalists
and promoting transparent governance for the benefit of the public at large, and sought to advance
those interests with its FOIA request.2 The Attorney General, however, has already made clear
that he will not-and maintains that he cannot-release the Special Counsel’s Report in full. He
has stated that he believes himself to be bound by obligations imposed by Federal Rule of Criminal
Procedure 6, requiring him to, among other things, maintain the secrecy of materials relating to
grand jury investigations Mar. 29 Letter at 1.

4. ln light of the Attorney General’s public pledge to release only a redacted version
of the Special Counsel’s Report that excises grand jury material, the Reporters Committee brings
this Application for an order authorizing the release of grand jury material cited, quoted, or
referenced in the Special Counsel’s Report pursuant to Local Criminal Rule 57.6. Granting the
relief requested in this Application Will allow the Attorney General to release a more complete,
unredacted version of the Special Counsel’s Report, allowing for transparency and promoting
governmental accountability, and ensuring public trust and confidence in the results of this
important investigation The Reporters Committee therefore requests that this Court, pursuant to

Federal Rule of Criminal Procedure 6 and its inherent supervisory authority, issue an order

 

1 Exhibits cited herein are to the Declaration of Amir C. Tayrani dated Apr. l, 2019, filed in
support of this Application.

2 Most recently, the Reporters Committee moved to unseal opinions, briefs, transcripts, and
record documents underlying a previously sealed contempt proceeding connected to the
Special Counsel’s investigation See In re Grana’ Jury Sabpoena No. 7409, No. lS-gj-4l-
BAH (D.D.C.). In the hearing on the Reporters Committee’s motion to unseal in that matter,
the Court stated that it “appreciate[d] the fact that the Reporters Committee has . . . come
forward” to advocate for “[t]ransparency,” which the Court recognized was “very important.”
Ex. 2 at 16:20-25.

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authorizing the release of grand jury material cited, quoted, or referenced in the Special Counsel’s
Report by either the Department of Justice or Congress so that the public can access that report in
full, and fairly assess the Special Counsel’s and Attorney General’s conclusions

5. “People in an open society do not demand infallibility from their institutions, but it
is difficult for them to accept what they are prohibited from observing.” Richmona’ Newspapers,
Inc. v. Vl'rginz'a, 448 U.S. 555, 572 (1980) (opinion of Burger, C.J.). This Court should enable the
release of the Special Counsel’s Report to the public to the fullest extent possible. Although the
Special Counsel’s investigation has only recently concluded, the resulting report-and the grand
jury material the Attorney General has proposed to redact therein-is of unique public interest and
historical significance This Court should grant this Application and issue an order that would
allow the Attorney General to comply with the Reporters Committee’s FOIA request and let the
Attorney General make public those portions of the Special Counsel’s Report that cite, quote, or
reference grand jury materials

STATEMENT OF FACTS

6. ln May 2017, Deputy Attorney General Rod Rosenstein appointed Robert S.
Mueller III to serve as Special Counsel for the Department of Justice to investigate the Russian
government’s efforts to interfere in the 2016 presidential election and related matters, and to
prosecute any federal crimes uncovered during the investigation In re Grana’ Jary Invesligatz`on,
916 F.3d 1047, 1051 (D.C. Cir. 2019), The investigation has received widespread attention from
the public and the press ever since. See, e.g., fn re Grana’ Jury Sal)poena No. 74 09, No. 18-gj-41,
Dkt. No. 57 at 1-3 (D.D.C. Jan. 15, 2019) (noting intense public interest in all facets of these
proceedings). Nearly two years later, the Special Counsel’s foice concluded its investigation by

submitting a confidential report to the Attorney General. l\/Iar. 24 Letter at 1.

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7. On l\/Iarch 24, 2019, the Attorney General issued to Congress and the public a four-
page “summar[y of] the principal conclusions reached by the Special Counsel and the results of
his investigation.” Ia'. The letter summarized the Special Counsel’s findings and conclusions on
two issues: “Russian Interference in the 2016 U.S. Presidential Election,” and “Obstruction of
Justice.” Ia’. at 2-3. The Attorney General wrote that the Special Counsel’s investigation
“determined that there were two main Russian efforts to influence the 2016 election,” but that:
“‘[T]he investigation did not establish that members of the Trump Campaign conspired or
coordinated with the Russian government in its election interference activities”’ Ial. at 2 (quoting
partial sentence from report). The Attorney General further stated that the Special Counsel “did
not draw a conclusion” as to whether “the examined conduct constituted obstruction [ofjustice],”

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and quotes another partial sentence from the report instead stating that while this report does not
conclude that the President committed a crime, it also does not exonerate him.”’ Ia’. at 3.

8. Consistent with his testimony in the Senate before his confirmation, the Attorney
General stated that his “goal and intent is to release as much of the Special Counsel’s [R]eport as
I can consistent with applicable law, regulations, and Departmental policies.” Id. at 4.
lmportantly, however, he noted that “it is apparent that the report contains material that is or could
be subject to Federal Rule of Criminal Procedure 6(e).” Ia’. The Attorney General revealed that
the Special Counsel’s Office would assist the Department of Justice in “identifying all 6(e)
information contained in the report,” and indicated that he believes such material must be redacted
as a matter of law. Ia’.

9. On March 27, 2019, the Reporters Committee submitted a FOIA request to the

Department of Justice, seeking “access to and copies of the Special Counsel’s [R]eport.” Ex. 1 at

1. Although that FOIA request is still pending, the Attorney General’s planned redactions make

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clear that the Department of Justice will, in response to that FOIA request, withhold those portions
of the Special Counsel’s Report that consist of material it deems subject to Federal Rule of
Criminal Procedure 6(e). See 5 U.S.C. § 552(b)(3) (FOIA exemption providing for nondisclosure
if another federal law “requires that the matters be withheld from the public in such a manner as
to leave no discretion on the issue”).

10. Two days after the Reporters Committee filed its FOIA request, the Attorney
General announced publicly that he “anticipate[d]” the Department of Justice “will be in a position
to release the report by mid-April, if not sooner.” Mar. 29 Letter at l. But the Attorney General
reaffirmed that he would not be willing or able to release the full report. Rather, he stated that the
government would be “identifying and redacting the following: (1) material subject to Federal
Rule of Criminal Procedure 6(e) that by law cannot be made public; (2) material the intelligence
community identifies as potentially compromising sensitive sources and methods; (3) material that
could affect other ongoing matters, including those that the Special Counsel has referred to other
Department offices; and (4) information that would unduly infringe on the personal privacy and
reputational interests of peripheral third parties.” Icl. (emphasis added).

11. The Attorney General’s intended redactions will stymie the efforts of not only the
Reporters Committee in its FOIA request, but the intentions of members of Congress, too, who
have asked that the report be released in full to the public. Chairmen Jerrold Nadler, Adam B.
Schiff, and Elijah E. Cummings of the House Judiciary, lntelligence, and Oversight Committees,
respectively, have “call[ed] for the release of the Special Counsel’s full and complete report and
all underlying documents” because the “Special Counsel’s Report should be allowed to speak for
itself.” Joint Statement (Mar. 24, 2019), https://bit.ly/ZJVRnHO. Representatives Nadler,

Cummings, Schiff, Maxine Waters, Richard E. Neal, and Elliot L. Engel have further issued a

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“formal[] request that [the Attorney General] release the Special Counsel’s full report to Congress
no later than Tuesday, April 2.” Letter to Attorney Gen. Barr (Mar. 25, 2019),
https://bit.ly/2HTgHe0. And earlier in March, the House of Representatives nearly unanimously
passed a 420-0 resolution “[e]xpressing the sense of Congress that the report of Special Counsel
Mueller should be made available to the public and to Congress” H.R. Con. Res. 24, 1 16th Cong.
(Mar. 7, 2019); If Congress receives the full Special Counsel’s Report, it would have the ability
to share it with the public, the press, and the Reporters Committee, allowing the report “to spea ”
to the public “for itself.”

12. The Attorney General’s decision that he has no choice but to redact grand jury
material from any disseminated version of the Special Counsel’s Report means that the Reporters
Committee and other members of the press and public will not be able to obtain access to the full
report, either through a FOIA request to the Department of Justice or through Congress sharing
the report with the public. That harms the Reporters Committee’s interests in transparent
government, in enforcing the public’s right to access government records, and in advancing the
newsgathering rights ofjournalists. See, e.g., Zerilll' v. Smith, 656 F.2d 705, 710 (D.C. Cir. 1981)
(“The First Amendment guarantees a free press primarily because of the important role it can play
as a vital source of public information.” (internal quotation marks omitted)). The Reporters
Committee brings this Application to allow the Attorney General and Congress to make the Special

Counsel’s Report public to the fullest extent possible.

DISCUSSION
13. Local Criminal Rule 57.6 provides that “[a]ny news organization or other interested
person, other than a party or a subpoenaed witness, who seeks . . . relief relating to a criminal

investigative'or grand jury matter, shall file an application for such relief with the Court. The

application shall include a statement of the applicant’s interest in the matter as to which relief is

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sought, a statement of facts, and a specific prayer for relief.”3 Pursuant to Local Rule 57.6, this
Court should issue an order authorizing the grand jury material cited, quoted, or referenced in the
Special Counsel’s Report to be made public both pursuant to the Court’s inherent authority to
unseal grand jury materials an_d pursuant to the Federal Rules of Criminal Procedure. To the extent
necessary to aid the Court’s ruling on this Application, the Reporters Committee further requests
that the Court issue an order directing the Attorney General to lodge an unredacted copy of the
Special Counsel’s Report with the Court for in camera review, and to identify for the Court the
redactions the Attorney General proposes to make pursuant to Rule 6(e). See 28 U.S.C. § 1651.
14. An order from this Court authorizing release of this grand jury material will allow
the Attorney General and Congress to provide the Reporters Committee, and the press and public
at large, a more fulsome version of the Special Counsel’s Report. This Court should grant the

Application in full.

 

3 The Reporters Committee has standing to bring this Application based on Rule 57.6, which
allows “[a]ny news organization or other interested person” to bring such an application
That rule reflects that “the press’ function as a vital source of information is weakened
whenever the ability of journalists to gather news is impaired.” Zerz`lli, 656 F.2d at 711. The
Reporters Committee further has standing in light of its pending FOIA request, which the
Attorney General has effectively stated will be denied to the extent it seeks material deemed
subject to Rule 6(e), and to advance its “First Amendment interest in receiving information
from willing speakers” Taylor v. Resolution Trast Corp., 56 F.3d 1497, 1508 (D.C. Cir.
1995); see also Slephens v. Cly. ofAlbemarle, Va., 524 F.3d 485, 492 (4th Cir. 2008) (a
plaintiff has “standing to assert a right to receive speech” by “show[ing] that there exists a
speaker willing to convey the information to her”). Because the Attorney General and FOIA
make clear, supra 1111 8-10; 5 U.S.C. § 552(b)(3), that absent judicial intervention the full
Special Counsel’s Report will not be released, this dispute is also ripe for adjudication See
Teva Pharm. USA, Inc. v. Sebelias, 595 F.3d 1303, 1309 (D.C. Cir. 2010) (pre-enforcement
administrative challenge ripe where “it is clear what the FDA will do absent judicial
intervention”); cf Sasan B. Anthony List v. Drehaus, 573 U.S. 149, 165 (2014)
(“[A]dministrative action . . . may give rise to harm sufficient to justify pre-enforcement
review.”). The issue is “fit for judicial review,” it “does not depend on ‘contingent future
events,”’ and the absence of judicial intervention will cause “hardship” to the Reporters
Committee and the public, see injia 1111 19-20. Flynt v. Rumsfelal, 355 F.3d 697, 702-03
(D.C. Cir. 2004); see Zerl`llz', 656 F.2d at 711.

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I. This Court Should Exercise Its Inherent Authority To Unseal Grand Jury Material
Cited, Quoted, Or Referenced In T he Special Counsel’s Report.

15. This Court “retains an inherent authority to unseal and disclose grand jury material
not otherwise falling within the enumerated exceptions to Rule 6(e).” In re Unseal Dockets
Relal‘ea' to Ina’ep. Counsel ’s 1998 Investz`gatiorz of President Clirztorz, 308 F. Supp. 3d 314, 323
(D.D.C. 2018) (Howell, C.J.) (collecting cases). Courts have identified nine “non-
exhaustive . . . factors” used to determine whether the court’s inherent authority should be
exercised in a given case. Ia’. at 326. Those factors include:

(i) the identity of the party seeking disclosure; (ii) whether the
defendant to the grand jury proceeding or the government opposes
the disclosure; (iii) why disclosure is being sought in the particular
case; (iv) what specific information is being sought for disclosure;
(v) how long ago the grand jury proceedings took place; (vi) the
current status of the principals of the grand jury proceedings and that
of their families; (vii) the extent to which the desired material_
either permissibly or impermissibly_has been previously made
public; (viii) whether witnesses to the grand jury proceedings who

might be affected by disclosure are still alive; and (ix) the additional
need for maintaining secrecy in the particular case in question

In re Pel‘il‘l'on ofKutler, 800 F. Supp. 2d 42, 47-48 (D.D.C. 2011) (quoting In re Craz'g, 131 F.3d
99, 106 (2d Cir. 1997)); Carlson v. United States, 837 F.3d 753 (7th Cir. 2016). And courts have
further recognized that, irrespective of the nine factors, “historical or public interest alone” can
justify the release of information related to a grand jury investigation Craig, 131 F.3d at 105.

16. As an initial matter, “historical or public interest alone [] justif[ies] the release” of
grand jury information cited, quoted, or referenced in the Special Counsel’s Report. Ia’. Courts
have recognized that the public’s interest in understanding grand jury investigations assessing
criminal conduct directed al a president may “overwhelm” any need for secrecy. Ia’. (addressing
hypothetical investigations into John Wilkes Booth and Aaron Burr). The same is certainly true

with regard to a grand jury investigation into alleged criminal conduct by a president or a

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presidential campaign Public access to such material is of uniquely paramount importance And,
indeed, courts in this Circuit have readily exercised their inherent authority to release grand jury
material related to criminal investigations of recent presidents See Katler, 800 F. Supp. 2d at 47-
48 (ordering disclosure of President Nixon’s grand jury testimony); In re Unseal Dockets, 308 F.
Supp. 3d at 327-36 (ordering unsealing of eleven dockets relating to the Independent Counsel’s
investigation of President Clinton); see also In re Norlh, 16 F.3d 1234, 1241 (D.C. Cir. 1994)
(ordering release of Independent Counsel report on Iran-Contra matters based, in part, on the
“national interest that the public, its representatives in the political branches, and its surrogates in
the media have as full an access to the fruits of the investigation as possible”); Haldeman v. Sirica,
501 F.2d 714, 715-16 (D.C. Cir. 1974) (affirming district court’s order transmitting sealed report
and grand jury evidence to Congress). Based on the unparalleled historic and public import of the
grand jury material cited, quoted, or referenced in the Special Counsel’s Report, this Court should
do the same here. The interests of history and the public “overwhelm” any need to maintain
secrecy of such grand jury material.

17. Application of the relevant factors identified in Unseal Dockets further
demonstrates that this Court should authorize public release of grand jury material in the Special
Counsel’s Report. Although the Reporters Committee cannot fairly address several of the factors
because the Special Counsel’s Report and its underlying material are not public, the key factors
support disclosure here.

18. T he information sought The Special Counsel’s Report is no ordinary government
document that refers to grand jury material: “There is no question” that the report and “the
requested records are of great historical importance.” Kutler, 800 F. Supp. 2d at 48. Like the

grand jury investigations into Presidents Nixon and Clinton, the Special Counsel’s grand jury

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investigation into President Trump has “capture[d] both scholarly and public interest,” counseling
in favor of unsealing here. Ia'. Allowing the public to access the grand jury material cited, quoted,
or referenced in the Special Counsel’s Report will enable the Attorney General and Congress to
release to the public a more fulsome version of that report, which will promote public trust in
government lt will “enhance the existing historical record, foster further scholarly discussion,
and improve the public’s understanding of a significant historical event.” Ia’. The nature of the
information sought clearly counsels in favor of disclosure.

19. Purpose for seeking disclosure. lf “otherwise secret information is being sought”
because of “significant historical interest,” that significant historic interest “militates in favor of
release,” and is a “weighty” consideration Craig, 131 F.3d at 106. Disclosure of the Special
Counsel’s Report, including those portions that cite, quote, or reference grand jury materials,
would “foster[] vigorous and sustained debate, not only about the case itself, but also about broader
issues concerning fundamental and, at times, countervailing aspects of our democracy-freedom
of expression, . . . governmental investigative power, . . . and the role and function of grand juries
themselves” In re Am. Historical Ass ’n, 49 F. Supp. 2d 274, 295 (S.D.N.Y, 1999). The American
public has an acute interest in seeing the report unveiled and, indeed, is clamoring for such a
release. Domenico Montanaro, Poll: After Barr Lelter, Overwhelming Majorily Wam‘s Fall
Mueller Report Releasecl, NPR (Mar. 29, 2019), https://n.pr/2F1E34u.

20. The purposes of the requested disclosure also counsel in favor of the relief sought
by the Reporters Committee. As the country looks ahead to the next presidential election in 2020,
public access to the Special Counsel’s findings is essential. The report details an investigation into
Russian interference with the 2016 presidential election and thus has immenser important

ramifications for our foreign policy, national security, and electoral system. The public, the press,

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and scholars should not have to wait decades for the public and historical record to be full and
accurate. Although courts have recognized that the government’s interest in grand jury secrecy
diminishes over time, no court has determined that grand jury materials may only be released years
after the investigation has concluded. And for good reason: Robust public debate, news reporting,
and historical analysis occur in real-time. See Carlson v. United States, 109 F. Supp. 3d 1025,
1035 (N.D. 111. 2015), aff’a’ 837 F.3d 753 (7th Cir. 2016) (noting that grand jury investigation
“received media coverage at the time it occurred”). Disclosure now “ensur[es] the pages of history
are based upon the fullest possible record.” In re Arn. Historl`cal Ass ’n, 49 F. Supp. 2d at 295. Our
nation’s impending “vigorous and sustained debate,” ia’., should be fully informed based on the
full report from Special Counsel Mueller. Cilizens United v. Fea’. Election Comm ’n, 558 U.S. 310,
339 (2010) (“Speech is an essential mechanism of democracy, for it is the means to hold officials
accountable to the people. . . . The right of citizens to inquire, to hear, to speak, and to use
information to reach consensus is a precondition to enlightened self-government and a necessary
means to protect it.”); Eu v. San Francisco Cly. Democraiic Cent. Comrn., 489 U.S. 214, 223
(1989) (“[T]he First Amendment ‘has its fullest and most urgent application’ to speech uttered
during a campaign for political office.”); Buckley v. Valeo, 424 U.S. 1, 14~15 (1976) (“In a republic
where the people are sovereign, the ability of the citizenry to make informed choices among
candidates for office is essential, for the identities of those who are elected will inevitably shape
the course that we follow as a nation.”); ia’. at 14 (“Discussion of public issues and debate on the
qualifications of candidates are integral to the operation of the system of government established
by our Constitution.”).

21. Information has already been made public. “[E]ven partial previous disclosure

often undercuts many of the reasons for secrecy.” Craig, 131 F.3d at 107; see In re Unseal

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Dockets, 308 F. Supp. 3d at 322-23 (“[G]rand jury secrecy is not unyielding When there is no
secrecy left to protect.” (internal quotation marks and citation omitted)); see also In re Grana’ Jury
Subpoerza, Jaa’ith Miller, 493 F.3d 152, 154-55 (D.C. Cir. 2007) (ordering the “release [of] those
redacted portions of [the] concurring opinion and the two ex parte affidavits that discuss grand
jury matters” where “the ‘cat is out of the bag”’ given that one grand jury witness “discusse[d] his
role on the CBS Evening News”); In re Motiorzs ofDow Jones & Co., 142 F.3d 496, 505 (D.C.
Cir. 1998) (noting that when grand jury witness’s attorney “virtually proclaimed from the rooftops
that his client had been subpoenaed,” that fact was no longer protected by grand jury secrecy); In
re North, 16 F.3d 1234, 1245 (D.C. Cir. 1994) (noting that “information widely known is not
secret” and “when information is sufficiently widely known” it “los[es] its character as Rule 6(e)
material”); Local Crim. R. 6.1 (authorizing disclosure of grand jury material where secrecy is no
longer “necessary”).

22. Much of the information that relates to this grand jury investigation has already
been made public. The public knows the focus and scope of the investigation; it knows who many
of the witnesses are; it also knows the subjects and targets of the investigation See Margaret
Hartmann & Nick Tabor, Everything We ’ve Learnea’ From Robert Mueller’s Investigaiion (So
Far), N.Y. Mag. (Mar. 22, 2019), https://nym.ag/2V67mU7 (detailing the trove of information
available from public indictments and news reports). But more importantly, the public knows the
outcome_including the Attorney General’s conclusion that the Special Counsel’s investigation
“determined that there were two main Russian efforts to influence the 2016 election” but that the
Special Counsel “did not find that the Trump campaign, or anyone associated with it, conspired or

coordinated with the Russian government in these efforts.” Mar. 24 Letter at 2.

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23. Additionally, broad swaths of information from the grand jury investigation have
come into the public domain as a result of the “number of indictments and convictions of
individuals” that the Special Counsel obtained during his investigation, “all of which have been
publicly disclosed.” l\/Iar. 24 Letter at 2. Specifically, the Special Counsel obtained some 34
indictments of foreign nationals as well as high-level officials of the federal government and the
President’s previous campaign apparatus, including Paul Manafort, Rick Gates, Retired Lieutenant
General Michael Flynn, George Papadopoulous, Michael Cohen, and Roger Stone, among others
See Amy Sherman, All of the People Facing Charges From Mueller ’s Irzvestigaiion Into Russian
Mecla’ling, Politifact (Mar. 25, 2019), https://bit.ly/2Wx`5an. Several of these defendants have
been publicly tried or pleaded guilty_and allocuted_in public. See Karen Yourish, Larry
Buchanan, and Alicia Parlapiano, Everyone Who ’s Been Chargeol in Investigatiorzs Relatecl to the
2016 Eleclion, N.Y. Times (Mar. 13, 2019), https://nyti.ms/2anxTy. Others have been publicly
sentenced to significant jail time, ia’. , or even testified publicly before Congress about information
relevant to the grand jury investigation see Full Transcripi.' Michael Cohen ’s Opening Statement
to Congress, N.Y. Times (Feb. 27, 2019), https://nyti.ms/2U6gDLg (testifying regarding contacts
with Russia). That the subject of a grand jury investigation has “generally” been “disclosed to the

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public” through, for example, “indictments” of multiple persons “and media accounts weighs
most strongly in favor of release.” In re North, 16 F.3d at 1240 (applying statutory factors to
release Independent Counsel report and reasoning that “[t]he American public is particularly
entitled to this accountability where the subject of the investigation and the investigation itself
have been widely publicized of long duration and great expense”). These prior public disclosures

about the Special Counsel’s investigation clearly countenance in favor of disclosure of grand jury

material cited, quoted, or referenced in the Special Counsel’s Report.

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24. Identizfy of the party seeking disclosure The Reporters Committee is a nonprofit
association founded almost five decades ago by leading journalists and lawyers to protect press
freedom and promote government transparency. The Reporters Committee seeks to ensure the
ability of the news media to serve as the “vital source of information” that the First Amendment
meant it to be_~a source that can “‘bare the secrets of government and inform the people. ”’ Zerilli,
656 F.2d at 711 (quoting N. Y. Times Co. v. United States, 403 U.S. 713, 717 (1971)). As this Court
has noted, the Reporters Committee’s efforts to promote “[t]ransparency” is a “very importan ”
aim. See Ex. 2 at 16:20-25. The Reporters Committee’s identity, a factor that “carr[ies] great
weight,” Craig, 131 F.3d at 106, plainly counsels in favor of disclosure. See Katler, 800 F. Supp.
2d at 48 (major historical groups and scholars sought access, and their identity “weighs in
petitioners’ favor”).

25. Whether the government opposes disclosure The federal government’s public
positions support disclosure here. The head of the Executive Branch_the President himself~_has
indicated that he has no objection to public release of the Special Counsel’s Report. Cheyenne
Haslett, Trump Says Release of Mueller Report “Woala’n ’i Boiher ” Him Al All, ABC News (Mar.
25, 2019), https://abcn.ws/2WOU10W. ln fact, the President has gone further, expressing
affirmative support for disclosure, stating “1et [the Special Counsel’s Report] come out, let people
see it.” Ia’. Numerous members of Congress, too, including a nearly unanimous House of
Representatives, have concluded that the Special Counsel’s Report should be released. H.R. Con.
Res 24, 116th Cong. (Mar. 7, 2019) (420-0 resolution “[e]xpressing the sense of Congress that the
report of Special Counsel Mueller should be made available to the public and to Congress”).

26. Although it is possible that the Attorney General may oppose this Application,

given his statement that the Department of Justice would redact material subject to Rule 6(e) “that

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by law cannot be made public,” Mar. 29 Letter at 1, the President’s position renders entirely
unpersuasive any such possible opposition The Attorney General’s position, too, could be based
on his views of the secrecy obligations imposed by Rule 6(e) on him and the Special Counsel, and
this Court could issue an order freeing them from those obligations In any event, the Department
of Justice’s “position is not dispositive Government support cannot ‘confer’ disclosure, nor can
government opposition preclude it.” Katler, 800 F. Supp. 2d at 48 (quoting Craig, 131 F.3d at
106). lf the Department of Justice opposes disclosure, it must identity a “specific reason” showing
that such disclosure will “cause harm.” Carlson, 109 F. Supp. 3d at 1034. And not just any harm
will do_in keeping with background principles of public access to government documents
grounded in the First Amendment and the common law, the harm should be compelling, such as a
“threat[ to] national security[.]” Ia’.; see also Am. Historical Ass ’n, 49 F. Supp. 2d at 291 (ordering
disclosure of grand jury materials related to the investigation of Alger Hiss).4
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27. At bottom, an order authorizing the public disclosure of grand jury materials cited,

quoted, or referenced in the Special Counsel’s Report is warranted in this unique and important

case of national significance The public’s need for access to the Special Counsel’s Report, to the

 

4 Even if there are continued secrecy interests as to particular witnesses-which the Reporters
Committee lacks information to directly address_the Special Counsel’s Report carries
“undisputed historical interest” that “far outweigh[s] the need to maintain the secrecy of the
records.” Katler, 800 F. Supp. 2d at 50; see also In re Peiition ofGary May, No. M 11-189,
Mem. & Order at 3~4 (S.D.N.Y. Jan. 20, 1987) (finding that “undisputed historical
significance” justified the disclosure of grand jury minutes relating to William Remington, a
prominent public official accused of being a Communist during the l\/IcCarthy era). And, in
any event, the President’s position favoring public release of the report should carry great
weight in light of the fact that the President himself was a subject of the investigation
Likewise, to the extent the government identifies any specific information the disclosure of
which will actually cause cognizable harm, the Court is well-positioned to address such
specific pieces of information as appropriate

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greatest extent possible, unquestionably outweighs the ordinary interests that grand jury secrecy is
designed to uphold. Although grand jury secrecy generally seeks to protect “the innocent accused
from disclosure of the accusations made against him before the grand jury,” Doaglas Oil Co. of
Cal. v. Petrol Stops Nw., 441 U.S. 211, 218 n.8 (1979), the grand jury material included in the
Special Counsel’s Report is broader than any one individual (nor can it be ignored that the main
individual at issue in the investigation supports disclosure here). Rather, the grand jury material
at issue cuts to the core of our democracy. See Craig, 131 F.3d at 105 (noting that “historical or
public interest alone” can “justify the release of grand jury information”).

28. Likewise, the normal deterrence rationales favoring grand jury secrecy-
“prevent[ing] the escape of those whose indictment may be contemplated,” “insur[ing] the utmost

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freedom to the grand jury in its deliberations, prevent[ing] subornation of perj ury or tampering,”
and “encourage[ing] free and untrammeled disclosures” by witnesses_will not meaningfully be
harmed by unsealing in these special circumstances Douglas Oil, 441 U.S. at 219 n.10. A witness
in an ordinary grand jury investigation is unlikely to be deterred from complying with that
investigation merely because the Special Counsel’s Report made public grand jury material
connected to a widely publicized investigation into the President of the United States and Russian
interference in our electoral process See Kutler, 800 F. Supp. 2d at 47-48 (ordering disclosure of
President Nixon’s grand jury testimony); In re Unseal Dockets, 308 F. Supp. 3d at 327-36
(ordering unsealing of eleven dockets relating to the Independent Counsel’s investigation of
President Clinton). Indeed, President Clinton’s own videotaped grand jury testimony was released

in full to the public for its consideration, see Starr’s Evidence, Wash. Post.,

https://wapo.st/2uA50pH, with no detrimental effect on the institution of the grand jury.

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29. The material at issue is of singular historical and public value The public should

be able to access it.
II. This Court Should Direct That The Exceptions To Grand Jury Secrecy In Federal

Rule Of Criminal Procedure 6 Apply, Allowing Release Of Grand Jury Material
Contained In The Special Counsel’s Report.

30. “Grand jury material may also be disclosed under various exceptions listed in Rule
6(e),” In re Unseal Dockets, 308 F. Supp. 3d at 323, several of which apply here Accordingly,
this Court should also issue an order authorizing the public release of grand jury material cited,
quoted, or referenced in the Special Counsel’s Report pursuant to Rule 6(e).

31. Judicial Proceedings Exception. “The court may authorize disclosure-at a time,
in a manner, and subject to any other conditions that it directs-of a grand-jury
matter. . . preliminarily to or in connection with a judicial proceeding.” Fed. R. Crim. P.
6(e)(3)(E)(i). A party seeking grand jury materials pursuant to this exception must show that she
(1) has a particularized need to use those materials (2) preliminarily to or in connection with (3) a
judicial proceeding See United States v. Sells Eng’g, Inc., 463 U.S. 418, 442-43 (1983),' Unitea’
States v. Baggot, 463 U.S. 476, 480-81 (1983). ln order to show a particularized need, parties
“must show that the material they seek is needed to avoid a possible injustice in another judicial
proceeding, that the need for disclosure is greater than the need for continued secrecy, and that
their request is structured to cover only material so needed.” Douglas Oil Co., 441 U.S. at 222.
“This standard is ‘a highly flexible one . . . and sensitive to the fact that the requirements of
secrecy are greater in some situations than in others.”’ Juclicial Watch, Inc, v. Tillerson, 270 F.
Supp. 3d 1, 5 (D.D.C. 2017). The judicial proceedings exception is not limited to situations in
which a party seeks access to grand jury material for use in a criminal trial. ln fact, the D.C. Circuit
has applied the judicial proceedings exception to its own determinations of whether to release

grand jury material contained in an Independent Counsel’s report. In re North, 16 F.3d at 1244

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(applying the exception where the court, by statute, made “the decision to release the [Independent
Counsel’s] Report”).5 Under a full and fair reading of the Rule, the exception should apply here
32. The various committees of the House of Representatives investigating the actions
arising from the same conduct that spurred the appointment of the Special Counsel, at the very
least, are “preliminary to” the type of proceedings for Which Rule 6(e)’s exception applies See In
re Reqaest for Access to GranclJury _Materz`als Grana’.]ary No. 8]-1 Miami, 833 F.2d 143 8, 1440-
41 (11th Cir. 1987) (“Judge Butzner below held, and the parties agree, that within the meaning of
the rule a Senate impeachment trial qualifies as a ‘ judicial proceeding’ and that a House
impeachment inquiry is ‘preliminary to’ the Senate trial.”); In re Grana’ Jury Proceedings of Grana’
Jary No. 8]-1 (Miamz'), 669 F. Supp. 1072, 1076 (S.D. Fla. 1987) (“It is apparent from the text of
the Constitution that the framers considered impeachment to be judicial in nature.”); but see In re
Unseal Dockets, 308 F. Supp. 3d at 318 n.4 (“Consideration by the House of Representatives, even
in connection with a constitutionally sanctioned b impeachment proceeding, falls outside the

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common understanding of ‘a judicial proceeding. ) (citing In re Pet. to Inspect & Copy Grana1
Jury Materials, 735 F.3d 1261, 1271 (11th Cir. 1984)). The relevant grand jury material need not
relate to a judicial proceeding that is actually ongoing but rather needs merely to pertain “to some
identifiable” proceeding that is “pending or anticipated.” Baggot, 463 U.S. at 480 (emphasis
added). The House investigations qualify. And the grand jury material at issue here is plainly and

particularly necessary because it pertains to the very inquiries Congress will conduct: specifically,

the nature of the President’s conduct and any evidence as to its criminality or lack thereof Grand

 

5 According to the D.C. Circuit its “decision . . . as to which portions [of the Independent
Counsel’s report in the lran Contra proceedings] are appropriate for release . . . are acts of the
Court,” and these “acts constitute a judicial proceeding.” In re North. 16 F.3d at 1244; see
also In re Sealea’ Motion, 880 F.2d 1367, 1379 (D.C. Cir. 1989) (“The termjudicial
proceeding has been given a broad interpretation by the courts.”).

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jury testimony included in the Special Counsel’s Report, for example, may be essential when
evaluating the credibility of witnesses testifying before Congress and it may be necessary to refresh
the recollection of witnesses testifying before Congress The grand jury material cited, quoted, or
referenced in the Special Counsel’s Report should not only be accessible to Congress, but also to
the public.

33. National Security Exception. “An attorney for the government may disclose any
grand-jury matter involving foreign intelligence, counterintelligence, or foreign intelligence
information to any federal law enforcement, intelligence protective, immigration, national
defense, or national security official to assist the official receiving the information in the
performance of that official’s duties.” Fed. R. Crim. P. 6(e)(3)(D) (internal citations omitted).
Further,

An attorney for the government may also disclose any grand-jury
matter involving, within the United States or elsewhere, a threat of
attack or other grave hostile acts of a foreign power or its agent, a
threat of domestic or international sabotage or terrorism, or
clandestine intelligence gathering activities by an intelligence
service or network of a foreign power or by its agent, to any
appropriate federal, state, state subdivision, Indian tribal, or foreign

government official, for the purpose of preventing or responding to
such threat or activities

Ia'. Because the grand jury investigation at issue involved questions of whether a foreign
government attempted to interfere with and disrupt our national elections-quintessential “grave
hostile acts of a foreign power or its agent” (ia’.)_this exception to grand jury secrecy applies
34. Each element of Rule 6(e)(3)(D)’s exception applies under the Rule’s plain text.
First, the grand jury investigation plainly includes matters involving both “grave hostile acts of a
foreign power or its agent” and “foreign intelligence, counterintelligence, or foreign intelligence
information.” Indeed, the primary purpose of the Special Counsel’s investigation was to

investigate Russia’s efforts to interfere in the 2016 presidential election See In re Grand Jury

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Investigation, 916 F.3d at 1051. Second, the members of the House Judiciary and lntelligence
Committees and their staffs qualify as “any federal law enforcement, intelligence, protective,
immigration national alefense, or national security official” (emphasis added)_the types of
individuals who are permitted to receive the grand jury material included in the Special Counsel’s
Report. And third, these officials need the grand jury material “to assist” them “in the performance
of” their “duties” The chairmen of those committees in particular have made it clear that the
Special Counsel’s Report is needed in full~*not in redacted form-in order to assess threats to this
country at home and from afar. See supra 11 11; see also H.R. Con. Res 24, 116th Cong. (Mar. 7,
2019). lt is further within their official duties to disclose this grand jury material to the public to
the extent it allows them to inform the public of potential foreign and domestic threats and prepare
for future attacks on our nation See Fed. R. Crim. P. 6(e)(3)(D) (authorizing disclosure “for the
purpose of preventing or responding to such threat or activities”). The national security exception
enumerated in Rule 6(e) therefore applies here

35. Government Attorney. “Disclosure of grand-jury material . . . may be made to an
attorney for the government for use in performing that attorney’s duty,” Fed. R. Crim. P.
6(e)(3)(A)(i), and “any government personnel . . . an attorney for the government considers
necessary to assist in performing that attorney’s duty to enforce federal criminal law,” Fed. R.
Crim. P. 6(e)(3)(A)(ii). See also Fed. R. Crim. P. 6(e)(3)(B) (“A person to whom information is
disclosed under Rule 6(e)(3)(A)(ii) may use that information only to assist an attorney for the
government in performing that attorney’s duty to enforce federal criminal law.”). The government
attorney exception applies to the cadre of attorneys that serve and represent the House of
Representatives and, unquestionably, the members of the House they serve constitute “government

personnel” that those attorneys can “consider[] necessary to assist in performing that attorney’s

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duty to enforce federal criminal law.” To the extent any member of Congress and their counsel
seek to investigate violations of federal criminal law, including any cognizable high crimes or
misdemeanors, and to inform the public regarding evidence of criminal conduct byhigh-ranking '
administrative officials, the government attorney exception also applies
>l< * *

36. The Reporters Committee has a “First Amendment interest in receiving information
from willing speakers.” Taylor v. Resolution Trust Corp., 56 F.3d 1497, 1508 (D.C. Cir. 1995);
see also Stephens v. Cty. of Albemarle, 524 F.3d 485, 492 (4th Cir. 2008) (a plaintiff has “standing
to assert a right to receive speech” by “show[ing] that there exists a speaker willing to convey the
information to her”); United States v. Wecht, 484 F.3d 194, 202-03 (3d Cir. 2007) (acknowledging

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that news organizations may challenge gag orders directed at others “as long as they can
demonstrate that the order is an obstacle to their attempt to obtain access”’); accord Zerilli, 656
F.2d at 711 (“Without an unfettered press, citizens would be far less able to make informed
political, social, and economic choices But the press’ function as a vital source of information is
weakened whenever the ability of j ournalists to gather news is impaired.”).

37. Here, the relevant willing speaker is the House of Representatives. The l-louse’s
near-unanimously passed resolution “[e]xpressing the sense of Congress that the report of Special
Counsel Mueller should be made available to the public and to Congress,” H.R. Con. Res. 24,
116th Cong. (Mar. 7, 2019); see Miles Parks, House Votes Almost Unanimously For Public
Release of Mueller Report, NPR, https://n.pr/ZHeriV, makes clear that if the House obtains the
grand jury material cited, quoted, or referenced in the Special Counsel’s Report, as it should, it

would willingly share that information with members of the public, including the Reporters

Committee The Court should allow the House to do so, and the public should be allowed to

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evaluate the Special Counsel’s conclusions for itself. Because members of Congress have
requested and are entitled to the relevant grand jury material under these exceptions and would
willingly share that material with the public, including the Reporters Committee, this Court should
grant the Application and authorize the public release of grand jury material cited, quoted, or
referenced in the Special Counsel’s Report.

III. To The Extent Necessary To Rule On This Application, The Court Should Direct

The Attorney General To Lodge An Unredacted Version Of The Special Counsel’s
Report With The Court.

38. To the extent needed to facilitate this Court’s ruling on the Reporters Committee’s
Application, the Court.should order the Attorney General to lodge with the Court an unredacted
version of the Special Counsel’s Report for in camera review and to identify those portions of the
Special Counsel’s Report it contends must be withheld from the public under Rule 6(e). Pursuant
to the All Writs Act, this Court has the power to “issue all writs necessary or appropriate in aid of
their respective jurisdictions and agreeable to the usages and principles of law.” 28 U.S.C.
§ l651(a). “The authority to issue orders under the Act may be exercised in the court’s ‘sound
judgment’ when necessary ‘to achieve the rational ends of law’ and ‘the ends of justice entrusted
to it.”’ In United States for an Order Pursuant to 28 U.S.C. § 1651(A) For Ora’er Preclua’ing
Notice ofGrancl Jury Subpoena, 2017 WL 3278929, at *1 (D.D.C. July 7, 2017) (Howell, C.J.).
The Court’s “power reaches even ‘persons who, though not parties to the original action or engaged
in wrongdoing, are in a position to frustrate the implementation of a court order or the proper
administration of justice’ and ‘who have not taken any affirmative action to hinder justice.”’
United States v. Hughes, 813 F.3d 1007, 1010 (D.C. Cir, 2016) (quoting Unitea’ States v. N.Y. Tel.
Co., 434 U.S. 159, 172 (1977)).

39. An order requiring the Department of Justice to give the Court access to the Special

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Counsel’s Report is both “necessary” and “appropriate” to aid this Court’s jurisdiction[]” and the

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exercise of its inherent and supervisory authority over the grand jury and grand jury materials See
In re Unseal Dockets, 308 F. Supp. 3d at 324 (recognizing that the district court has “supervisory
authority over grand juries” and that “[g]rand juries have long been recognized as ‘a part of the
judicial process’ and ‘an appendage of the court”’ (citations omitted)); accord Carlson, 837 F.3d
at 760 (noting that “grand-jury transcripts are, in their very nature, judicial documents (just as a
transcript of a trial would be)”). And where a third party alone possesses information the Court
needs to exercise its authority, the Court may issue an order pursuant to the All Writs Act to obtain
that information Evans v. Williams, 1999 WL 1212884, at *4 (D.D.C. Aug. 20, 1999) (issuing
writ of mandamus to Superior Court, Family Division, where “without” access to “the information
that the Superior Court possesses, the Court cannot devise a concrete plan for concluding this
case”); accord In re Grand Jury Proceedings, 654 F.2d 268, 276 (3d Cir. 1981) (affirming district
court’s order issued pursuant to All Writs Act to force state court judge to meet with U.S. attorney
to determine whether federal grand jury materials should be disclosed to state criminal defendant).

PRAYER FOR RELIEF

40. For the forgoing reasons, Applicant requests the following relief:

a. An order authorizing the public release of grand jury material cited, quoted,
or referenced in the Special Counsel’s Report pursuant to this Court’s
inherent authority;

b. An order authorizing the public release of grand jury material cited, quoted,
or referenced in the Special Counsel’s report pursuant to exception(s) set
forth in Federal Rule of Criminal Procedure 6(e);

c. Any further relief that the Court deems just and proper.

ORAL ARGUMENT REQUESTED

41. Applicant respectfully requests oral argument on this application

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April 1, 2019 Respectfully submitted,

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

In re.'

Application of the Reporters Committee for
Freedom of the Press for an Order Authorizing
the Release of Grand Jury Material Cited,
Quoted, or Referenced In the Report of Special
Counsel Robert S. Mueller III,

Miscellaneous Action No.

1156 15th Street NW, Suite 1020
Washington, D.C. 20005

 

 

DECLARATION OF AMIR C. TAYRANI IN SUPPORT OF THE REPORTERS
COMMITTEE FOR FREEDOM OF THE PRESS’S APPLICATION

l, Al\/IIR C. TAYRANI, hereby declare under penalty ofperjury the following:

1. l\/Iy name is Amir C. Tayrani of Gibson, Dunn & Crutcher LLP. l represent
Reporters Committee for Freedom of the Press in the above-captioned matter. By virtue of my
direct involvement in this matter, I have personal knowledge of the content of this declaration,
and l could and would competently testify to the truth of the matters stated herein

2. Attached as Exhibit 1 is a true and correct copy of a Freedom of lnformation Act
Request submitted by letter on behalf of the Reporters Committee for Freedom of the Press to the
Office of the Attorney General on March 27, 2019.

3. Attached as Exhibit 2 is a true and accurate copy of a transcript of a hearing
before the Honorable Beryl A. Howell, United States District Court Chief Judge, on the
Reporters Committee for Freedom of the Press’s motion to unseal in ln re.' Grand Jury Subpoena
7049, No. GJ 18-41, held on l\/larch 27, 2019.

I declare under penalty of perjury that the foregoing is true and correct.

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Dated: April l, 2019

Respectfully Submitted,

 

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Reporters Committee for Freedom of the Press

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Exhibit 1

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j€)r purposes of identification

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Office of the Attorney General
Department of Justice
Washington, D.C.

March 27, 2019

VIA FOIAOnline

RE: Freedom of Information Act Request
To Whom It May Concern:

This letter constitutes a request under the federal Freedom of Information
Act, 5 U.S.C. § 552 (“FOIA"’), and is submitted on behalf of the Reporters
Committee for Freedom of the Press (“Reporters Committee” or “RCFP”) to the
Office of the Attorney General (“OAG”) at the United States Department of
Justice (“DOJ” or the “Department”). The Reporters Committee is a nonprofit
association dedicated to protecting First Amendment freedoms and the
newsgathering rights of journalists1

I. Background

For your information and in order to facilitate the location of responsive
records, this request relates to report submitted by Special Counsel Robert S.
Muller III (the “Special Counsel”) to the Attorney General on or about March 22,
2019. See, e.g., Letter from Attorney General William P. Barr to Chairman
Graham, Chairman Nadler, Ranking Member Feinstein, and Ranking Member
Collins (Mar. 24, 2019).2

II. Reguested Record

Pursuant to the FOIA, I, on behalf of the Reporters Committee, request
access to and copies of the Special Counsel’s report transmitted to the Attorney
General on or about March 22, 2019, titled “Report on the Investigation into
Russian Interference in the 2016 Presidential Election.”

 

l See generally www.rcfp.org.
2 Archived at https://perma.cc/VG4A-M27U.

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Please provide all responsive records in electronic format
II. Fees and Fee Categorization

As a representative of the news media, the Reporters Committee is only required to pay
for the direct cost of duplication after the first 100 pages 5 U.S.C. § 552(a)(4)(A)(ii)(II). This
information is being sought on behalf of the Reporters Committee for, inter alia, analysis and
free dissemination to the general public through multiple avenues, including RCFP’s Website,3
social media accounts,4 and email newsletters5 These records are not being sought for
commercial purposes

In the event that there are fees for responding to this request, the Reporters Committee is
willing to pay up to $50. Please let me know in advance if fees for responding to this request
will exceed that amount before proceeding

III. Conclusion

If this request is denied in whole or part, please justify all such denials by reference to
specific exemptions and explain why OAG “reasonably foresees that disclosure would harm an
interest” protected by that exemption or why “disclosure is prohibited by law[.]” 5 U.S.C. §
552(a)(8). Please also ensure that all segregable portions of otherwise exempt material are
released

If you have any questions regarding this request, please feel free to contact me
at amarshall@rcfp.org. Thank you in advance for your assistance

Sincerely,

Adam A. Marshall
Knight Foundation Litigation Attorney
Reporters Committee for Freedom of the Press

 

3 https://www.rcfp.org/.

4 See, e.g., https://twitter.com/rcfp (~15.3 thousand followers as of March 28, 2019)',
https://www.facebook.com/ReportersCommittee/ (7,965 “likes” as of March 28, 2019).

5 https://rcfp.us15.list-managecom/subscribe?u=682100887bbcfff066b45 l 132&id=8f701b284f.

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Exhibit 2

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FOR THE

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IN RE:
Grand Jury Subpoena 7049

Interested Parties,
CORPORATION,
GovERNMENT,

MOVANT,

APPEARANCES:

FOR THE CORPORATION:

FOR THE GOVERNMENT:

FOR THE MOVANT:

Court Reporter:

 

Proceedings reported by machine Shorthand,
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UNITED STATES DISTRICT COURT

DISTRICT OF COLUMBIA

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) GJ 18-41

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) March 27, 2019

) 11:28 a.m.

) Washington, D.C.
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TRANSCRIPT OF MOTION HEARING
BEFORE THE HONORABLE BERYL A. HOWELL,
UNITED STATES DISTRICT COURT CHIEF JUDGE

BRIAN BOONE

KARL GEERCKEN
EDWARD T. KANG

LEE DENEEN

AlStOn & Bird

90 Park Avenue

New York, NY 10016

DAVID B. GOODHAND

ZIA M. FARUQUI

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Washington, D.C. 20530

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333 South Grand Avenue

LOS Angeles, CA 90071-3197

Elizabeth Saint-Loth, RPR, FCRR

Official Court Reporter

Washington, D.C. 20001
transcript

 

 

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P R 0 C E E D I N G S

THE DEPUTY: Matter before the Court, grand jury
matter 18-41 in regards to grand jury subpoena No. 7049,
Counsel for the interested party, corporation; Government;
movant, Reporters Committee For Freedom of the Press.

Please come forward and identify yourselves for
the record.

MR. BOUTROUS: Good morning, Your Honor.

Theodore Boutrous for the Reporters Committee For Freedom of
the Press. 1 am joined by my colleagues Lee Crain and Katie
Townsend from the Reporters Committee.

We are pleased to be here. Thank you, Your Honor.

THE COURT: Yes. Good morning.

The Government -- we11, Mr. Boone.

MR. BOONE: Brian Boone from Alston & Bird for the
corporation. With me today are Karl Geercken, Ted Kang, and
Lee Deneen, also from Alston & Bird.

THE COURT: Yes. Thank you.

MR. GOODHAND: Good morning, Your Honor.

David Goodhand for the United States. With me at counsel's
table is Zia Faruqui and Peter Lallas.

THE COURT: All right. Well, welcome, everybody.

Let me just begin by reviewing where we are in the
case because the Reporters Committee has before me a motion

to unseal redacted versions, by my count, of the briefs, the

 

 

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record, transcripts and orders in this action, as well as
the identity of the corporation, that is, the contemnor.

And let me just start by making clear or
summarizing what's already been made public in this case at
multiple levels of the federal judiciary.

In the District Court, 1 have already released a
redacted copy of the docket sheet as of January 31, 2019;
redacted copies of six memoranda, including the contempt
order in this case, which is docketed at ECF 30. The D.C.
Circuit has made the docket public, as well as redacted
forms of its opinion, the parties' briefs regarding
unsealing.

And my understanding is that the parties before
the D.C. Circuit are in the midst right now of an ongoing
effort to redact the parties' substantive briefs so that
redacted versions of those briefs can be made public.

The Supreme Court has made the docket itself
public, as well as redacted versions of the parties' briefs
regarding the stay of the contempt order in this case;
redacted versions of the parties' briefs regarding the
petition for certiori; and unredacted versions of the
parties' briefing regarding the Reporters Committee's motion
to unseal before the Supreme Court. Neither the D.C.
Circuit nor the Supreme Court has revealed the identity of

the contemnor.

 

 

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So part -- from where 1 sit, part of the Reporters
Committee motion seeking redacted versions of the briefing
is, in some ways, just to have this Court catch up with the
redacted versions of briefing that is already available on
the Supreme Court docket, and 1 think is going to be made
available on the D.C. Circuit's docket,

Mr. Goodhand, is that a fairly accurate summary?

MR. GOODHAND: Yes, that's my understanding, Your
Honor.

THE COURT: Okay. Do you know when, before the
D.C. Circuit, all of those redacted versions of briefs will
be made available?

MR. GOODHAND: Your Honor, actually -- 1'm sorry.

1 communicated this morning with the assistant to
handle this matter in the D.C. Circuit. And 1 actually
asked if the redactions had been completed of both briefs,
and the transcripts of the oral argument. He emailed those
to me. And 1 actually didn't follow up -- 1 didn't have
time, actually, to follow up and see whether they had been
filed. That suggests to me, however, if they haven't
already been filed, it is very soon.

THE COURT: All right. Well, 1 think, from my
review of the docket there, the corporation doesn't have to
respond until March 27th. So 1 don't think that any of them

have been actually filed yet. You are just still in the

 

 

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process of going back with redactions.

1s that correct, Mr. Boone?

MR. BOONE: That‘s correct, Your Honor.

THE COURT: All right. Okay.

So 1 am going to -- just so everybody understands
the structure of how 1'm going to conduct the hearing this
morning, 1 am going to start with some clarifying questions
to Mr. Boone on behalf of the corporation, and then 1 will
turn to the Reporters Committee.

So just to begin, Mr. Boone, on behalf of the
corporation, the corporation is aware that it had the right
to request that the contempt proceedings in this matter be
open to the public; is that correct?

MR. BOONE: That is correct, Your Honor.

THE COURT: And just to confirm, no such request
was ever made; is that correct?

MR. BOONE: That's right.

THE COURT: The Reporters Committee highlights the
fact that the corporation has taken no position on its
unsealing request, suggesting that the corporation has no
interest in preserving secrecy here. 1s it correct that the
corporation has no interest in preserving secrecy here?

MR. BOONE: That‘s not correct,

My client would prefer not to have its identity

disclosed to the public.

 

 

 

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THE COURT: Do you want to articulate any reasons
in a public hearing for why that is?

MR. BOONE: 1'd prefer not to at a public hearing.

THE COURT: All right. 1s the corporation willing
to participate in the task, should 1 order it, of -- that is
already being undertaken before the Circuit of redacting the
briefs, transcripts, and other orders for public versions to
be made available to the public?

MR. BOONE: We're happy to participate in that

process.
THE COURT: All right. Thank you, You may be
seated.
MR. BOONE: Thank you, Your Honor.
THE COURT: All right. Mr. Boutrous.
MR. BOUTROUS: Thank you very much, Your Honor.
Thank you, again, for hearing us today, because 1
think these are very important issues. 1 know the Court has

been focused on transparency. We really appreciate the
Court issuing the redacted orders --

THE COURT: Just so the record is clear: The
corporation is excused.

MR. BOONE: Thank you, Your Honor.

(Whereupon, counsel for the corporation exit the
courtroom.)

MR. BOUTROUS: _We hate to see them go. You are

 

 

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welcome to stay, though.

We spent on the briefing ~~ 1 think you captured
it exactly right. Our first line request to the Court is
to, basically, catch up. A lot has been disclosed, and the
Court summarized it! 1 think, perfectly.

We have briefed First Amendment issues and
common-law issues. But 1 don't think the Court really needs

to reach those because Rule 6.1 of this court and

Rule 6(e)(6) regarding the unsealing of documents in the
D.C. Circuit‘s decision in Dow Jones and In Re Sealed Case,
this Court's decision in the CNN case regarding the Starr
investigation all demonstrate that just -- basically, the
test is whether sealing is necessary to protect --

THE COURT: Mr. Boutrous, are you telling me that
you spent so much of your brief talking about the First
Amendment right of access and the common-law right of
access; but you are telling me now that 1 really don't have
to worry my mind with those more interesting constitutional
issues?

MR. BOUTROUS: Only if you don't go with me on the
first part. Because 1 think that they do provide -- since
it is a contempt proceeding, the contempt proceedings which
are called out by both rules as potentially being open, and
Rule 65 says that it's subject -- closure subject to any

right to open this; it doesn't limit it to the witness's

 

 

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rights. 1 think that adds a First Amendment dimension.

Again, there is a long history of contempt
proceedings being open, both to --

THE COURT: Let me just -- let me start with one
of the more troublesome aspects of your request and see if
we can just get that resolved right now.

One of the things that you requested is that the
contemnor be identified, which is why 1 felt it important
for the corporation to make clear it does not want to be
identified.

So from my reading of Dow Jones, the
D.C. Circuit's decision in 1998, it says in no uncertain
terms that the First Amendment does not provide a right of
access to the identities of witnesses or jurors in grand
jury proceedings. So doesn't that opinion foreclose
disclosure of the corporation's identity here?

MR. BOUTROUS: 1 don't think so, Your Honor,
because it is a contempt proceeding, 1 think the public has
a particular interest in scrutinizing a contempt proceeding,
And this Court's decision on the Lewinsky, Starr matter held
that there is an inherent power of the Court to release
grand jury information beyond the exceptions to the rule --
that are contained in Rule 6(e). Here we really have --

THE COURT: That is a matter that's not pending in

front of the D.C. Circuit. 1t's not my case, but in another

 

 

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case -- whether 1 have that inherent authority.

MR. BOUTROUS: Correct. But 1 think the Court's
decision is absolutely correct. The Court relied on the
decisions from other circuits that are correct.

1 think the key here is the unique circumstances
that we are in, that this is not an ordinary witness. This,
according to the contemnor‘s counsel, is a country, a
nation. We have foreign policy issues here where this
country has been taking the position in this court, to the
Supreme Court and back, that they're not even subject to the
grand jury --

THE COURT: No. Let me make sure you are
understanding correctly. The contemnor in this case is a
corporation that is owned by a foreign sovereign. 1t is not
the foreign sovereign itself.

MR. BOUTROUS: All right. That was what 1
understood, Your Honor. But then 1 noticed that the briefs
that the contemnor filed in the Supreme Court referred to
itself as "Country A" as opposed to the company. 1'm, of
course, working at a disadvantage; 1'm reading between the
lines.

What 1 inferred from that is that they were
seeking to persuade this Court and other courts that they
really were one and the same as the country, And one of the

core issues for the public to be able to understand what

 

 

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this case is all about is to know what the facts are and who
the company is.

1t seems to me that here where Special Counsel
Mueller has submitted his report to the Attorney General,
the Attorney General has submitted a four-page summary -- we
don't really know what the conclusions really are; that this
is a time for this Court, consistent with the rules, its
inherent authority --

THE COURT: And that is -- just so you know, that
is one of the questions 1 will ask the Government to
explain, why are we still here, in terms of the fact that
the special counsel's report has been delivered and whether
this contempt proceeding continues or not.

MR. BOUTROUS: 1 was wondering what that -- what
was the status of that myself because it certainly seemed
the report is in. 1n reading all of the public materials,
including this Court's order --

THE COURT: And the reason that that question is
important, 1 think, is to clarify whether there is a closed
grand jury investigation now or whether this is a grand jury
investigation that is continuing. Because 1 think you would
concede, wouldn't you, Mr. Boutrous, that if it is an
ongoing grand jury investigation that the redactions and the
amount of information that can be publicly disclosed has to

be measured against the needs of an ongoing grand jury

 

 

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investigation, correct?

MR. BOUTROUS: Yes, Your Honor. 1 agree with
that. 1t was interesting. On Friday we filed our reply
brief. And then, suddenly, your decision in the CNN,
1ndependent Counsel Starr decision became much more
relevant, because we were -- at least, from a public
perspective, it seems that the grand jury investigation that
was working with Special Counsel Mueller is done. At least
that's what it looks like.

1f there are strands -- and 1 guess this contempt
proceeding would be one of them -- that needs to be wrapped
up, but 1 think that the arguments for coercing -- 1 don't
mean to make their argument for them -- but coercing the
witness now changes, that is something 1 think the public
should be able to scrutinize in how this all plays out with
Special Counsel Mueller having wrapped things up and made
the report.

So 1 do think that the arguments for disclosure
are even stronger -- much stronger for greater disclosure
if, in fact, the grand jury investigating the Russia matters
and related matters has completed.

THE COURT: But if, in fact -- and we'll hear from
the Government -- the grand jury matter is continuing
robustly, then that is a significant consideration in terms

of the response that may be available to your motion,

 

 

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correct?

MR. BOUTROUS: 1 agree with that, Your Honor.

1 think it would -- nonetheless, disclosure -- at
least to the extent that has already occurred in the Supreme
Court, the D.C. Circuit, this Court's prior orders -- would
still then be appropriate because the local rule and
Rule 6(e)(6) contemplate disclosure during ongoing grand
jury investigations, but the considerations -- the balance
would be different; 1 agree with that, Your Honor.

THE COURT: All right. So is there anything else
that you would like to add to your papers?

MR. BOUTROUS: 1f 1 could, Your Honor, on the
witness issue. 1 do want to -- 1 think it really is a
special situation because we have the public scrutiny and
the public attention to this matter which the Court noted in
one of its orders.

We have the fact that we have a company owned by a
foreign nation litigating in our courts all the way to the
Supreme Court, briefing things fully. And the core issue --
in order for the public to understand this Court's ruling,
that's the one thing we don't know. We don't know what the
facts are regarding this company, who is this company.

We know so much about the Mueller investigation.
Even without seeing the report, we know a lot. We know what

the focus was. We know many, many things about it.

 

 

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So it seems that if ever there were a strong
public interest for exercising the Court's discretion for
considering First Amendment considerations about disclosing
the witness's identity -- and 1 know Mr. Boone said that
they would rather their identity remain secret, but it
wasn't like they were fighting tooth and nail. They asked
in the D.C. Circuit for permission to file their response to
our motion on the record, and then their response was: We
take no position, which 1 took to mean they weren't exactly
viewing this as a crucial thing to keep secret, They didn't
argue there was a reason --

THE COURT: And that's why 1 had the corporation
clarify --

MR. BOUTROUS: Yes.

THE COURT: -- what you thought was being
suggested by their notice of no position 1 thought was not
an unreasonable perception of that position; but 1 knew it
was incorrect, which is why the corporation clarified and
corrected the impression that you thought had been suggested
by their no position on your motion,

MR. BourRous: And 1 appreciate that, rear Honor.

But 1 would say that even now that 1 understand
their position, it's a farer cry from any sort of compelling
reason, any sort of, you know, need to keep it secret,

Now, the United States, in their briefs, they --

 

 

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this is the other point 1 wanted to make, Your Honor.

1n the D.C. Circuit and the Supreme Court, 1
argue, yes, we agree; redacted materials can be released in
a way that protects grand jury secrecy. We really
appreciate that the transcripts and the briefs in the D.C.
Circuit, as you know, are on the verge of coming out.

And they told the D.C. Circuit that as to this
Court's records, this Court's past position -- now, in their
briefs, they seem to be taking the position nothing else
should come out because all of this other information has
come out; that's, of course, not the standard. The more
that's made public, the less reason there is for secrecy.

So we would ask the Court to release as much as
possible the entire record in this case. We know it's all a
big task for everyone, but the D.C. Circuit has said that as
important as that is --

THE COURT: And you appreciate, as the D.C.
Circuit certainly does, and has talked about in Dow Jones
and in the sequel to Dow Jones, proceedings before the
Circuit can be far more controlled and measured and
certainly take more time than proceedings in front of the
District Court in grand jury proceedings. And,
consequently, redactions of transcripts, let's say, or
briefing submitted in the course of ancillary grand jury

proceedings like contempt proceedings, which are fast

 

 

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moving, have to get a lot of detailed facts in front of the
Court and the witness, and vice versa to the Government, on
a prompt basis and fulsome basis in order for the Court to
make a fair evaluation of the parties' arguments. But
because of all of those circumstances, which are
characteristic of the nature of grand jury proceedings,
including ancillary proceedings like contempt proceedings
before the District Court, makes redactions a lot more
complicated to make.

Do you understand that?

MR. BOUTROUS: 1 do understand that. 1 know the
D.C. Circuit noted that it is a different inquiry, so we
appreciate that.

The Court, in its orders -- 1 think it was very
helpful for us to see the Court's analysis. But we
respectfully request -- and notwithstanding the differences
in the inquiry -- that the Court release as much as possible
in redacted form because we do know a lot about the case;
and it would be interesting to see how it played out with
Your Honor and what led the Court -- 1 mean, contempt is a
serious thing. We know the Court is careful in holding
someone in contempt, so we'd like to see what their
arguments were before this Court.

They seemed -- again, 1'm sort of in the peanut

gallery here, but 1'm fascinated to read how it played out.

 

 

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1t seemed like their arguments were shifting; they
were coming up with new arguments before the Court. Some of
them seemed -- for a company owned by a foreign nation --
kind of out there on the edge, and they're saying we don't
have to listen to the U.S. courts. That‘s something the
public should be able to see in an investigation like this,
and how it unfolded within this Court, the judge who had to
hold them in contempt -- 1 think it's even more important to
see what was being argued to you by both sides and what led
the Court to its decisions so we can understand what really
the Court was basing its decision on.

We really appreciate the Court hearing us. And we
hope the Court would release as much as possible, including
the identity of the witness. 1 mean, a foreign country
comes here, goes into contempt, goes to our Supreme Court,
cert is denied, the investigation is over -- we should know
who that country is and the company and what it's all about
so we can scrutinize their behavior and how our judicial
system and the justice department handled it.

THE COURT: And 1 appreciate the fact that the
Reporters Committee has taken the time and engaged quality
counsel to come forward and bring these issues teed up for
the Court's consideration. Transparency, particularly when
it comes to judicial proceedings, is very important, There

should be no secret law.

 

 

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MR. BOUTROUS: Thank you, Your Honor.

THE COURT: So 1 appreciate your efforts here.

MR. BOUTROUS: Thank you very much,

THE COURT: Thank you.

Mr. Faruqui. Mr. Goodhand.

So let's start with the first question. 15 the
grand jury investigation over?

MR. GOODHAND: No, it is continuing. 1 can -- in

the Court's words, 1 can say it's continuing robustly,

THE COURT: All right. So this is a situation
where the Court must evaluate the Reporters Committee
request for unsealing in the context of a robust and ongoing
grand jury investigation; is that correct?

MR. GOODHAND: Exactly.

THE COURT: All right.

Notwithstanding the fact there is an ongoing grand
jury investigation, given the fact that there are redacted
versions of briefs in front of the Supreme Court, redacted
versions of the briefs that are in the process of being done
for posting on the D.C. Circuit's docket -- although there
are a lot more briefs in front of the District Court, and
that makes the administrative work that much more in front
of the District Court, why is it that the Government is
taking the position of "no" as opposed to allowing for

redacted versions of at least the briefing and, if not, some

 

 

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cf the transcripts in this matter to be made public?

MR. GOODHAND: Sure.

We thought we saw a little bit of schizophrenia in
the Reporters Committee's motion, and that's why we did
launch an opposition. When 1 say that, what 1 mean is
this -- and, in particular, 1'm directing the Court's
attention to page 13 where the Reporters Committee says:

The public has the right of access to contempt proceedings.
There can be no doubt that the public has a right of access
to the orders, briefs, transcripts, and underlying record in
the proceedings before this Court,

We were a little concerned that that was a
suggestion that -- this is a contempt proceeding, number
one, and that means everything gets opened; that was our
concern.

We certainly understand the mandate of Rule 6.1.
We understand the mandate of Dow Jones. And we are
perfectly willing to work within the confines of both those
constructs to get to roughly the same place that the D.C.
Circuit and the Supreme Court has reached with this massive
caveat._ There's been a lot of discussion about the identity
of the witness. You know, number one, we have heard from
the corporation about that.

Number two, 1 think, in contrast to the Reporters

Committee's arguments, Rule 6.1 itself recognizes,

 

 

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consistent with Dow Jones, that: All hearings on matters
affecting grand jury shall be closed except for contempt
proceedings in which the alleged contemnor requests a public
hearing.

To my mind, 1 understand Rule 6.1 to be this;
1t's an embodiment of the rule -- Rule 6(e), 6(e)(5) and
6(e)(6) that the advisory committee has said is consistent
with the First Amendment.

So Rule 6.1 is sort of a perfect distillation of
the balance, on the one hand, of grand jury matters and, on
the other hand, the First Amendment. So we are willing to
work within the confines of Rule 6.1, and we will. 1t will
be a burden. We will endeavor to do that, just as things
have already done -- others have done that at other levels.

But we were concerned about, sort of, the blanket
suggestion that the First Amendment puts this category of
proceeding in a different posture than a typical ancillary
grand jury matter. This is an ancillary grand jury matter.
1t is not a contempt proceeding and, thus, all bets are off.
1 think that answers the question that has been raised with
respect to the identity of the contemnor.

So, with that said, of course -- with those
caveats -- again, that was the basis, essentially, for our
opposition here. We're willing to work with the Court and

the Reporters Committee.

 

 

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THE COURT: All right. And how much time do you
think that the Government would need, beginning with -- 1
think what would be easiest is the redaction of briefing in
the matter, in cooperation with the corporation's counsel,
before turning to looking at whether any transcripts can be
redacted in a way that leaves anything intelligible left to
be read.

MR. GOODHAND: Sure. Sure.

THE COURT: How much time would you need?

MR. GOODHAND: 1 would like -- 1 think 1
understand the Court's general timetable to be a month. 1
would appreciate that for a couple of reasons.

As the Court and indexed newspapers outlined, when
you have voluminous materials, there are risks attendant,
sort of, inadvertent disclosures; we don't want to go down
that road. There are great consequences attendant to
inadvertent disclosures. So if the Court was willing to
grant us the luxury of that time, we would greatly
appreciate it because of the volume.

THE COURT: All right. 1 am going to be issuing a
memorandum, an order on this matter and this particular
motion, to make clear what is being done and what my order
is; and 1 will take the month-long request into
consideration.

1 think you are also going to have to be

 

 

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consulting with the corporation's counsel.

MR. GOODHAND: Yes.

THE COURT: So 1 think a month may be even, you
know, too tight a time frame; but 1 will let you work that
out with the corporation. Thank you.

MR. GOODHAND: Okay. Thank you, Your Honor.

THE COURT: Mr. Boutrous.

MR. BOUTROUS: Yes, Your Honor.

THE COURT: You have won a huge chunk of your
motion --

MR. BOUTROUS: Yes, so 1 am going to say very
little.

THE COURT: -- with the Government; and 1 will
take under consideration your request for the additional
disclosure of the contemnor corporation's identity.

1s there anything you would like to respond to?

MR. BOUTROUS: Really just --

THE COURT: You won. You might just want to sit
down.

MR. BOUTROUS: With that, Your Honor, 1 would like
to wrap up. Thank you, Your Honor.

THE COURT: Thank you. You are all excused.

THE DEPUTY: All riSe.

(Whereupon, the proceeding concludes.)

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CERTIFICATE

l, ELIZABETH SAlNT-LOTH, RPR, FCRR, do hereby
certify that the foregoing constitutes a true and accurate
transcript of my stenographic notes, and is a full, true,
and complete transcript of the proceedings to the best of my

ability.

Dated this 27th day of March, 2019.

/s/ Elizabeth Saint-Loth, RPR, FCRR
Official Court Reporter

 

 

 

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

In re.'

Application of the Reporters Committee for
Freedom of the Press for an Order Authorizing
the Release of Grand Jury Material Cited, Miscellaneous Action No.
Quoted, or Referenced In the Report of Special
Counsel Robert S. Mueller 111,

1156 15th Street NW, Suite 1020
Washington, D.C. 20005

 

 

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On consideration of the Application of the Reporters Committee for Freedom of the Press
pursuant to Local Criminal Rule 57.6, it is HEREBY:

ORDERED that the Application is GRANTED; and it is further

ORDERED that grand jury material cited, quoted, or referenced in the Special Counsel’s
Report may be publicly released pursuant to this Court’s inherent authority and the exceptions
set forth in Federal Rule of Criminal Procedure 6(e).

SO ORDERED on this day of , 20

 

